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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.: 16-cv-21301-GAYLES

  SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,

  V.

  ARIEL QUIROS,
  WILLIAM STENGER,
  JAY PEAK, INC.,
  Q RESORTS, INC.,
  JAY PEAK HOTEL SUITES L.P.,
  JAY PEAK HOTEL SUITES PHASE II. L.P.,
  JAY PEAK MANAGEMENT, INC.,
  JAY PEAK PENTHOUSE SUITES, L.P.,
  JAY PEAK GP SERVICES, INC.,
  JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
  JAY PEAK GP SERVICES GOLF, INC.,
  JAY PEAK LODGE AND TOWNHOUSES L.P.,
  JAY PEAK GP SERVICES LODGE, INC.,
  JAY PEAK HOTEL SUITES STATESIDE L.P.,
  JAY PEAK GP SERVICES STATESIDE, INC.,
  JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
  AnC BIO VERMONT GP SERVICES, LLC,

            Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

            Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

            Additional Receivership Defendantsl


                   NOTICE OF FILING RECEIVER'S THIRD INTERIM REPORT




   'See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 601
Case 1:16-cv-21301-DPG Document 363 Entered on FLSD Docket 07/11/2017 Page 2 of 35



          Michael I. Goldberg ("Receiver"), through undersigned counsel, hereby gives notice of

  the filing of Receiver's Third Interim Report dated July 11, 2017.


                                                  Respectfully submitted,

                                                    /s/ Michael I. Goldberg
                                                  Michael I. Goldberg, Esq.
                                                  Florida Bar Number: 886602
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                                                  Fort Lauderdale, FL 33301-2999
                                                  Telephone (954) 463-2700
                                                  Facsimile: (954) 463-2224
                                                  Court Appointed Receiver



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   July 11, 2017 via the Court's notice of electronic filing on all CM/ECF registered users entitled

   to notice in this case as indicated on the attached Service List.



                                                  By: /s/ Michael I. Goldberg
                                                     Michael I. Goldberg, Esq.
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                                       SERVICE LIST

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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   V.

  ARIEL QUIROS,
  WILLIAM STENGER,
  JAY PEAK, INC.,
  Q RESORTS, INC.,
  JAY PEAK HOTEL SUITES L.P.,
  JAY PEAK HOTEL SUITES PHASE II. L.P.,
  JAY PEAK MANAGEMENT, INC.,
  JAY PEAK PENTHOUSE SUITES, L.P.,
  JAY PEAK GP SERVICES, INC.,
  JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
  JAY PEAK GP SERVICES GOLF, INC.,
  JAY PEAK LODGE AND TOWNHOUSES L.P.,
  JAY PEAK GP SERVICES LODGE, INC.,
  JAY PEAK HOTEL SUITES STATESIDE L.P.,
  JAY PEAK GP SERVICES STATESIDE, INC.,
  JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
  AnC BIO VERMONT GP SERVICES, LLC,

           Defendants, and

  JAY CONSTRUCTION MANAGEMENT, INC.,
  GSI OF DADE COUNTY, INC.,
  NORTH EAST CONTRACT SERVICES, INC.,
  Q BURKE MOUNTAIN RESORT, LLC,

           Relief Defendants.

  Q BURKE MOUNTAIN RESORT, HOTEL
  AND CONFERENCE CENTER, L.P.
  Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

           Additional Receivership Defendants'


                                 RECEIVER'S THIRD INTERIM REPORT



  'See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].



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    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
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           Michael I. Goldberg, in his capacity as receiver (the "Receiver") of Jay Peak, Inc., Q

   Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites Phase II L.P., Jay Peak

  Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf

   and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse

  L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services

   Stateside, Inc., Jay Peak Biomedical Research Park L.P., AnC Bio Vermont GP Services, LLC

  (collectively, the "Receivership Defendants") and Jay Construction Management, Inc., GSI of

  Dade County, Inc., North East Contract Services, Inc., and Q Burke Mountain Resort, LLC

  (collectively, the "Relief Defendants") and Q Burke Mountain Resort, Hotel and Conference

  Center, L.P. and Q Burke Mountain Resort GP Services, LLC (together, "Additional

  Receivership Defendants") (the Receivership Defendants, Relief Defendants, and Additional

  Receivership Defendants shall collectively be referred to as the "Receivership Entities"), by and

  through undersigned counsel, and pursuant to the Order Granting Plaintiff Securities and

  Exchange Commission's Motion for Appointing Receiver, dated April 13, 2016 (the "Order")

  [ECF No. 13], respectfully files his Third Interim Report.

                                     PRELIMINARY STATEMENT

           This is the Receiver's Third Interim Report since his appointment on April 13, 2016.2

  This Third Interim Report provides an update of the status of the operating Receivership Entities

  and actions the Receiver has undertaken since he filed his Second Interim Report in November

  of 2016. One year into the receivership, the Receiver has achieved major settlements, resulting



  2 The Receiver filed his First Interim Report [ECF No. 201] on August 12, 2016 and his Second Interim Report on
  November 22, 2016 [ECF No. 240]. For the purpose of brevity, the Receiver has not restated the information
  contained in the prior Status Reports, but refers all interested parties to those Status Reports for additional
  information, including a detailed explanation of the Receivership Defendants and the events that led up to the
  appointment of the Receiver.


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   in the anticipated recovery of $150 million for the benefit of the investors, creditors, and other

   interested parties. The Receiver has begun making payments to construction lien holders and has

   developed a plan for paying claims of trade creditors and returning the principal investment to

   investors who are unlikely to be able to obtain their citizenship. The Receiver, with the

   assistance of the management company, Leisure Hotels LLC; Jay Peak's General Manager,

   Steven Wright and the entire staff at the Jay Peak Resort; and the Burke Mount Hotel's General

   Manager, Kevin Mack and the entire staff at the Burke Hotel, continues to work to improve the

   ski resorts and related facilities to enhance their operations and value, and achieve the job

   creation needed by investors to qualify for citizenship.

   I. BACKGROUND

              On April 12, 2016, the Securities and Exchange Commission ("SEC") filed a complaint

   [ECF No. 1] (the "Complaint") in the United States District Court for the Southern District of

   Florida (the "Court") against the Receivership Defendants, the Relief Defendants, William

   Stenger ("Stenger") and Ariel Quiros ("Quiros" and with the Receivership Defendants, Relief

   Defendants and Stenger, the "Defendants"), the principal of the Receivership Defendants.

              The Complaint alleged that Quiros and Stenger, in violation of federal securities laws,

   controlled and utilized the various Receivership Entities in furtherance of a fraud on the investors

   who participated in limited partnerships offered under the federally created EB-5 visa program,

   and seeks various forms of relief, including appointment of the Receiver. The first six limited

   partnerships (referred to herein as Suites Phase 1,3 Hotel Phase II, Penthouse Phase III, Golf and

  Mountain Phase IV, Lodge and Townhouses Phase V, and Stateside Phase VI) were used to

   develop and expand the Jay Peak Resort located in Jay, Vermont (the "Jay Peak Resort"). The

  seventh limited partnership (Biomedical Phase VII) raised funds to purchase land and develop a

   3   All capitalized terms herein have the same meaning as defined in the previous Status Reports.


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   biomedical research facility in Newport, Vermont. The eighth limited partnership (Q Burke

   Phase VIII) was used to develop and expand the Burke Mountain Hotel and ski area located in

   East Burke, Vermont (the "Burke Mountain Hotel").

           Along with the Complaint, the SEC requested the Court enter a temporary restraining

   order and a preliminary injunction preventing the Receivership Defendants from, among other

   things, transferring or otherwise utilizing their assets. On April 13, 2016, the Court entered an

   Order [ECF No. 11] granting the SEC's Emergency Ex Parte Motion for Temporary Restraining

   Order, Asset Freeze and Other Relief [ECF No. 4] and an Order granting the SEC's Motion for

   Appointment of Receiver [ECF No. 13] (the "Receivership Order"). Among other things, the

   Receivership Order appointed Michael Goldberg as the receiver over the Receivership

   Defendants and the Relief Defendants.

   II.     ACTIONS TAKEN BY THE RECEIVER DURING THE REPORTING PERIOD

           A.      Settlement with Raymond James & Associates, Inc.

           The Receiver, along with counsel for groups of investors, reached a significant settlement

   with Raymond James & Associates, Inc ("Raymond James"), pursuant to which Raymond James

   will be paying $150 million. This broad-sweeping settlement (the "RJ Settlement") will provide

   the Receiver with sufficient funds to pay all past-due contractors, all past-due vendors and trade

   creditors and all investors who are unable to receive their green cards. Moreover, the RJ

   Settlement will allow the Receiver to continue construction and operations at the resorts and

   provide investors with a better opportunity to obtain their pennanent residency. For investors

  who are unable to qualify for citizenship due to the lack of sufficient job creation, the RJ

   Settlement will provide a means for the Receiver to return their principal investment.




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           On April 18, 2017, the Receiver filed a Motion for (I) Approval of Settlement between

  Receiver, Interim Class Counsel, and Raymond James & Associates, Inc.; (II) Approval of Form,

  Content and Manner of Notice of Settlement and Bar Order; (III) Temporary Stay of Related

  Litigation Against Raymond James & Associates, Inc.; and (IV) Entry of Bar Order [ECF No.

  3151. The RI Settlement includes an Order barring all non-governmental claims against

  Raymond James. Accordingly, the Receiver has provided notice to all interested parties, by

  mail, posted notice on the Receiver's website and published advertisements in Vermont

  publications informing all interested parties of the RJ Settlement and an opportunity to object to

  the RI Settlement. A hearing to approve the RJ Settlement took place on June 30, 2017 before

  the District Court, at which time the Court approved the RJ Settlement.4

            The RJ Settlement is expected to have an impact on almost all aspects of the receivership

   case, many of which are described in this Report. For more specific details, the Receiver directs

   all interested parties to review the RJ Settlement, a copy of which has been posted on the

   Receiver's web site.

            B.      Management of Vermont Properties

            The Receiver, with the assistance of the court-approved management company, Leisure

   Hotels, LLC ("Leisure") continue to operate the Jay Peak Resort and the Burke Mountain Hotel.

   Jay Peak Resort's General Manager, Steven Wright and Burke Mountain Hotel's General

   Manager, Kevin Mack also play an important role in the management of the resorts. The

   Receiver confers with the Leisure management team on a daily basis and reviews weekly and

   monthly reports prepared by the management team. Please see the Financial Affairs section of




   4 The Court has yet to approve the distribution of legal fees although it approved the establishment of the fund on
   which to pay fees to the extent they are approved.


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   this report for more detailed information on the financial condition of the Jay Peak Resort and

   the Burke Mountain Hotel.

            C.       Claims

            The Receiver began addressing specific classes of claims prior to the RJ Settlement and

   was able to locate funds to pay certain claims, as described below:

                     1.       Return of Escrow Deposits to Certain Biomedical Phase VII Investors

            One of the bank accounts frozen by the Court has been identified as holding monies

   remitted by certain of the Biomedical Phase VII investors in furtherance of their subscriptions to

   the Jay Peak Biomedical project.5 These funds have remained in escrow through the pendency

   of the receivership and represent approximately $17,858,484.30 (the "Escrow Funds") which has

   been held on behalf of 36 Biomedical Phase VII Investors.6 In light of the fact that the

   biomedical research project will not be completed in a manner consistent with the underlying

   subscription agreement, the Receiver filed a motion with the Court seeking authority to refund

   the Escrow Funds in exchange for those investors fully assigning any claims they have against

   the Receivership Entities and third parties to the Receiver. See ECF No. 268. After notice and

   hearing, on February 9, 2017, the Court entered an Order Granting Receiver's Motion to

   Authorize the Refund of Phase VII Investor Funds Held in Escrow [ECF No. 282]. The Receiver

   has distributed funds to 32 of the 36 Phase VII Investors to date.7

                     2.       Partial Payment of Undisputed Contractor Claims for Burke and
                              Stateside Projects


   5 Phase VII a/k/a Biomedical Phase VII raised funds to purchase land and develop a biomedical research facility in
   Newport, Vermont.
   6 The Receiver's Motion to Authorize the Refund of Phase VII Investor Funds Held in Escrow [ECF No, 268]
   incorrectly referenced 35 investors. The exhibits to the motion accurately listed the 36 investors who were entitled
   to receive a refund.
   7 On March 1, 2017, the Receiver sent formal notice to each of the 36 investors entitled to a refund, however, as of
   this date four investors have not yet submitted the requisite documentation back to the Receiver before their refunds
   can be released.


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            Prior to the commencement of the receivership, certain contractors performed

   construction work on the Burke Mountain Hotel and the Stateside Cottages,8 but were not paid in

   full for their work due to the fact that the Receivership Entities ran out of cash. After the

   commencement of the receivership, the Receiver and the contractors entered into stipulations,

   with the Court's approval, modifying the preliminary injunction to permit the filing of stipulated

   writs of attachment in order to protect whatever lien rights the contractors might possess under

   Vermont law. Importantly, these contractors were prevented from taking any action to enforce

   their liens and the Receiver reserved all rights to, among other things, object to the validity and

   extent of both the underlying debt and the contractors' liens.

            The settlement the Receiver reached with Citibank in November of 2016 provided the

   Receiver with some desperately needed liquidity. Upon the Receiver's Motion for Authorization

   to Partially Pay Undisputed Contractor Claims on QBurke and Stateside Projects [ECF No. 259],

   the Court entered an Order [ECF No. 261] authorizing the Receiver to utilize some of the

   Citibank settlement funds to partially pay certain undisputed contractors' claims relating to

   construction of the Stateside Phase VI (the "Stateside Contractors") and Burke Mountain Hotel

   (the "Burke Contractors" and with the Stateside Contractors, the "Contractors"). To that end, the

   Receiver offered the Contractors with undisputed claims the option to: (i) payment of 33% of the

   net sum owed the contractor with the balance of the net sum due upon sale of the underlying

   property when and if the property is sold, to the extent the available net sales proceeds are

   sufficient to satisfy the contractor claims; or (ii) a one-time immediate cash payment of 60% of

   the net sum owed the contractor as payment in full of any and all claims they may have against

   the Receivership Entities. The Receiver mailed claims founs to the Contractors.

    Phase VI a/k/a Stateside Phase VI raised funds to build a hotel, cottages, a recreational center and a medical center.
   The hotel was completed and operating prior to this case being filed. The contractors had commenced construction
   on the cottages (the "Stateside Cottages"), but not the remainder of the project.


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           Subsequent to commencing this claim process, the Receiver entered into the RJ

   Settlement, which provides the Receiver with enough funds to pay these contractors' allowed

   claims in full. The Receiver is expected to receive the funds to make these payment over the

   next 45 days. To date, however, the Receiver has made a 33% payment to the Stateside

   Contractors because the Receiver has engaged the Stateside Contractors to continue the

   construction of Stateside Phase VI (as modified). The Receiver plans to pay the Stateside

   Contractors the remaining 67% and the Burke Contractors the full amount of their undisputed

   claims after receipt of funds from the RJ Settlement.

                   3.      Other Anticipated Claims

           The proceeds of the RJ Settlement will provide the Receiver with funds to, among other

   things, satisfy all principal obligations for all Phase I investors; all past-due trade debt on the Jay

   Peak Resort and the Burke Mountain Hotel; provide refunds of all principal investments to all

   remaining Phase VII investors; provide refunds of all principal for up to twenty Phase VII

   investors who, based on current projections, may not be granted permanent residency if the

   requisite number of jobs are not created; provide refunds of all principal investments to the Phase

   VIII investors whose 1-526 petitions were denied prior to the Receivership Case. Importantly, the

   $10 million escrow set up under the RJ Settlement is only an "insurance policy" in the event the

   Receiver is unable to create the requisite jobs. However, the Receiver is optimistic he will

   continue to create jobs.

           D.      Jay Peak Properties

                   1.      Phase VI - Stateside Construction

           At the time the Receiver was appointed, a hotel had been build, but the remainder of the

   construction was incomplete. Since work had stopped, not all of the investors in this project




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   were eligible to obtain their green cards. A portion of the RJ Settlement will finance the

   resumption of construction of the Stateside Cottages in order to provide more of the investors in

   the project with the ability to qualify for citizenship and will also increase revenues for Jay Peak.

              Moreover, the Receiver has analyzed the scope of Stateside Phase VI and intends to seek

   authority from the Court to modify the Phase VI Subscription Agreement to eliminate the

   medical center and replace it with soccer and lacrosse fields which will help fill rooms for the

   entire resort in the slow summer months.9 It is projected that this will increase resort revenue

   between $600,000 and $900,000 per year—thereby increasing the resort's sale price and

   benefitting all phases of Jay Peak investors. The Recreational Center, which contains a movie

   theater, climbing walls and ropes courses, will also be completed, further attracting customers.

   The Receiver believes amendments to the Subscription Agreement will eliminate non-revenue

   producing assets and replace them with revenue producing assets thereby increasing Jay Peak's

   profitability while at the same time creating the requisite number of jobs.

                       2.       Repairs to Water Park

              The water park at the Jay Peak Resort — known as the Pump House — is ventilated

   through a hanging duct system suspended from the ceiling. The duct system at the Pump House

   needed to be replaced. Jay Peak has engaged Hardy Structural Engineering to design a new

   hanging system and VHV Company, Inc. to remove the hanging system and install the new

   system. By making these necessary repairs, this will allow the Pump House to continue to

   generate revenues for the benefits of investors. The cost of the repairs is approximately

   $300,000, which the Receiver is seeking to recover from the parties responsible for the initial

   design and construction.



   9   These are non-material changes to the Subscription Agreement which do not require approval of the investors.


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                   3.      Sewer Bond Agreement

           In connection with the construction of the Jay Peak Resort, the towns of Jay and Troy

   (the "Towns") and Jay Peak, Inc. entered into several agreements pursuant to which the Towns

   allocated and granted the Jay Peak Resort with access to their jointly-owned and operated sewer

   treatiiient facility which was necessary for the operations of the Jay Peak Resort. As a condition

   for access to the sewer treatment facility and to secure payment of sums owed by Jay Peak, Inc.

   to the Towns under the agreements, Jay Peak, Inc. was required to post a $400,000 letter of

   credit with a local bank in favor of the Towns. After the commencement of the receivership, the

   bank notified the Receiver and the Towns that it did not wish to renew the letter of credit after it

   was set to expire on December 31, 2016. On December 12, 2016, the Receivership Court

   entered an order authorizing the Receiver to execute an amendment to the agreement, whereby

   the certificate deposit securing the line of credit will be liquidated and the proceeds would be

   placed in a custodial account with another bank. The funds were transferred to another bank

   prior to the deadline, thus providing the Towns with uninterrupted security for the obligations

   owed by Jay Peak and providing Jay Peak with continued access to the sewer treatment facility.

                   4.      Water Services

           For several decades, the Jay Peak Resort provided and maintained a water system for a

   neighboring village, Jay Peak Subdivision II, also known as Wilderness Village. The Receiver

   discovered that those services were provided without any apparent obligation on the part of the

   Jay Peak Resort and without any compensation from any residents or local landowners. In April

   2016, the State of Vermont issued a warning relating to the level of manganese in the water

   system. The Receiver determined it will cost approximately $150,000 to correct the manganese

   levels. However, the Jay Peak Resort was not in a position to bear those costs or future costs of




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   maintenance. The Receiver and his professionals have actively worked with local officials in

   order to develop a plan to rectify the situation through the establishment of a local utility that

   will maintain the water supply going forward. The Receiver has researched and drafted

   documents for the establishment of a water utility for Wilderness Village. At the end of this

   process, the Receiver anticipates significant cost savings which will benefit the investors by

   reducing the expense to the Jay Peak Resort by no longer providing free water to Wilderness

   Village.

            E.     Enhancements to Burke Mountain

            Burke Mountain is the home of the Burke Mountain Academy ("BMA"), the leading ski

   racing academy in the United States that has produced numerous Olympians and National U.S.

   Ski Team members. BMA previously owned and operated the ski facilities on Burke Mountain.

   In connection with the purchase of the facilities, certain of the Receivership Entities (the "Burke

   Entities") assumed certain financial and contractual obligations to BMA, including the obligation

   to pay a $3 million loan (the "Deferred Payment Agreement") and the grant of an easement in

   favor of BMA for its students and staff to continue to train on Burke Mountain. The Receiver

   has negotiated with BMA to amend the easement to permit BMA to expand its ski program on its

   allotted trails through increased student enrollment and other means including permitting it to

   host additional races and guest training. The results of which should generate additional ski lift

   revenue and the demand for hotel rooms. In connection with their plans to expand racing and ski

   race training on Burke Mountain, the Receiver and BMA have also entered into an operating

   agreement, which outlines the terms of the Receiver's and BMA's agreement with respect to

   sharing certain revenue and expenses related to ski racing, the use of training lanes and other

   hotel amenities by third parties brought to the Burke Mountain Hotel by BMA.




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                   1.      Burke Training Area Ski Lift Replacement

            The Receiver and BMA have also agreed that in order to improve the skiing experience

   on Burke Mountain and increase the demand for hotel rooms, they will replace the 62 year old

   "Poma" ski lift. BMA's supporting organization, Burke Racing Inc. ("BRI") has agreed to

   purchase the new lift, funding the purchase through a contribution of $260,000, a grant of

   $240,000 or 16% of the cost and up to $1 million in funds borrowed from third party lenders.

   BRI will lease the new lift to the Burke Entities pursuant to a lease agreement (the "T-Bar Lift

   Lease").

            BRI will purchase and install the ski lift and lease the lift back to the Burke Entities for

   $1 million in total, and BMA will concurrently reduce the sum due under the Deferred Payment

   Agreement by $1 million. Thereafter, the Burke Entities shall utilize the $1 million savings on

   the Deferred Payment Agreement, which it is receiving under the Raymond James Settlement, to

   prepay its $1 million rent obligation under the T-Bar Lift Lease. In short, the Burke Entities will

   obtain a brand new, state of the art lift at little or no cost while at the same time creating

   additional jobs that will benefit its investors. This new lift will vastly improve Burke Mountain's

   skiing capacity, improve the skiing product and at the same time should increase ski lift revenues

   and the demand for hotel rooms thereby making the Burke Mountain Hotel more valuable. BMA

   will also greatly benefit from this win-win arrangement by being able to expand its class size and

   utilize the new lift, in addition to other benefits.

                   2.      Contract with U.S. Ski and Snowboard Association

            The Receiver also negotiated an agreement with BMA and the U.S. Ski and Snowboard

   Association ("USSA"), the national governing body of Olympic skiing and snowboarding to

   designate Burke Mountain an "Official U.S. Ski Team Development Site" —the first such




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   designation in the United States— thereby obtaining the prestige and promotional opportunities

   attendant therewith. Pursuant to this agreement, members of the United States Ski Team will

   train at Burke Mountain and competitions amongst the best up and coming skiers in the United

   States will take place at Burke Mountain. On December 21, 2016, the Court entered an Order

   [ECF No. 252] authorizing the Receiver to enter into a three party contract with the USSA and

   BMA. This contract is expected to raise the prestige of Burke Mountain, and in turn, help

   increase hotel room sales, The Burke Mountain Hotel has already seen increased hotel room

   sales and revenue as a benefit of this agreement.

          E.       Immigration Issues

                   I.      USCIS and EB-5 Legislation

          The Receiver traveled to Capitol Hill to meet with U.S. Senators and their staff to educate

   them on the impact of fraud on the participants in the EB-5 visa process. The experience of the

   investors, as explained by the Receiver, is valuable to Congress as it prepares to work on new

   immigration legislation which may include retroactive changes to the EB-5 visa process. The

   possibility of retroactive changes may benefit the investors who are unable to qualify for

   citizenship.

                   2.      Supplying Economic Data to Investors to Satisfy Their Individual
                           Immigration Petitions

           The Receiver continues to regularly assist investors in fulfilling their reporting

   requirements to USCIS in order to obtain 1-526 and 1-829 approvals. To that end, the Receiver

   continues to utilize administrative personnel, accountants and an economist to supply investors

   with the information necessary for them to meet their USCIS reporting requirements.

   Immigration counsel, H. Ronald Klasko and his law firm continue to assist the Receiver in




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   preparing the necessary papers in order for investors to properly respond to USCIS's request for

   information and evidence supporting their various 1-526 and 1-829 petitions.

          F.       Litigation and Third Party Claims

                   1.      The Receivership Case

          On September 21, 2016, upon motion [ECF No. 206] of the SEC and consent by Stenger,

   the Court entered an Order granting a Judgment of Permanent Injunction and Other Relief

   against Stenger [ECF No. 215]. Quiros opposes the entry of an injunction against him and filed

   a Motion to Dismiss the Complaint [ECF No. 171]. On November 21, 2016, the Court entered a

   Preliminary Injunction [ECF No. 238] preliminarily enjoining Quiros from continuing to violate

   the Federal Securities laws, maintaining the asset freeze set forth in the TRO, and continuing the

   receivership, among other relief. Moreover, the Court denied Quiros' Motion to Dismiss [ECF

   No. 239]. On December 20, 2016, Quiros filed a Notice of Appeal of the entry of the

   Preliminary Injunction [ECF No. 251]. However, on or about April 4, 2017, pursuant to Quiros'

   motion for voluntary dismissal, the Eleventh Circuit entered an Order of Dismissal of the appeal

   [ECF No. 305]. In the interim, the Court entered a Judgment of Permanent Injunction and Other

   Relief against the Corporate Defendants and Relief Defendants [ECF No. 255-2].

                   2.      Raymond James & Associates, Inc. and Raymond James Financial,
                           Inc.

           The Receiver, through special counsel, filed a lawsuit against Raymond James and

   Quiros' former son-in-law, Joel Burstein ("Burstein"), who was a branch manager at Raymond

   James, and the employee responsible for servicing Quiros' financial needs (Case No. 1:16-cv-

   21831-JAL) (the "Raymond James Action"). The Receiver sought relief against Raymond

   James, Burstein, and Quiros for (i) aiding and abetting breach of fiduciary duty; (ii) conspiracy

   to breach fiduciary duty; (iii) fraudulent transfers under Sections 726.105(1) (a), (b), and



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   726.106(1) of the Florida Statutes; (iv) violation of the Racketeer Influenced and Corrupt

   Organizations Act; and (v) conspiracy in violation the Racketeer Influenced and Corrupt

   Organizations Act. After exchanging discovery and participating in mediation, the Receiver

   reached settlement with Raymond James, as more fully described in other parts of this Report.

              2.       Document Recovery

              The Receiver has taken control of the business records of the Receivership Entities and

   served subpoenas financial institutions. With the assistance of his forensic accountants and

   special counsel, the Receiver continues to analyze the business records and trace the transfer of

   funds. Analysis of the information gathered by the Receiver has resulted in service of additional

   subpoenas on additional parties.

   III. FINANCIAL AFFAIRS1°

              A.       Bank Accounts

              The Receivership Entities' financial accounts were frozen pursuant to the Receivership

   Order. The Receivership Order also provides the Receiver with control and signatory authority

   for all financial accounts. See Receivership Order, II 7. Attached to this Report as Exhibit "A"

   is a Standard Fund Accounting Report and cash flow statements for the operating Receivership

   Entities detailing the Receivership Entities business operations."

              B.       Jay Peak Resort

               This past winter, Jay Peak Resort was ahead of its sales budget due primarily to its more

   efficient management and favorable snow conditions and was significantly below budget in



   10 Due to the fact that this receivership involves operating entities, the confidentiality of the Receivership Entities'
   fmancial data is important. Accordingly, the Receiver has not attached detailed fmancial statements to this report,
   but has instead provided a general summary. Should the Court want to review such detailed fmancial data, the
   Receiver shall provide the information to the Court in-camera.

   11   The attached reports provide information through April 30, 2017.


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   payroll and operating costs due to implementation of major labor and cost control initiatives.

   The winter season passes were ahead of the prior year by 25%. So far, bookings for summer

   retail lodging are up by 7-10%. These additional revenues have helped offset unanticipated costs,

   specifically relating to new governmental regulations. The Occupational Safety and Health

   Administration and the National Fire Protection Association require completion of an electrical

   hazard assessment, referred to as an Arc Flash Hazard Assessment, to protect workers from the

   hazard of an arc flash accident. The unanticipated expenses included the costs for conducting an

   electric panel survey and annual inspection fees.

          Additionally, after reviewing opportunities available at Jay Peak Resort during

   management's annual business planning session for the fiscal year ending in April, the Receiver

   and the management team identified opportunities to produce increased cash flow through the

   implementation of new programs, including adding additional kiosk food vendors; reducing

   energy costs; completion of the Stateside Cottages; adding soccer/lacrosse fields; renegotiating

   insurance programs; commencing syrup production; adding additional ski instructors; and

   creating additional activities for kids. After the Receiver discovered that Jay Peak was paying

   for expenses for unrelated owners pertaining to the six homeowner's associations it manages, he

   worked with Management to revamp the administration of the associations and refine the

   allocation of shared cost, which results in increased cash flow by reducing expenditures.

           Management has implemented cost savings and revenue enhancements by adding a

   second location to minimize check in service times and provide enhanced customer satisfaction;

   performed employment based analysis including competitive wage analysis and made

   corresponding adjustments in addition to adding an employee assistance program; changed the

   risk management program resulting in better insurance coverage and cost savings; and added




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   new horizontal water lines for snowmaking purposes that expanded capacity into new areas and

   resulted in cost savings due to more direct flow of water rather than running over the mountains.

          C.       Burke Mountain Hotel

          The Burke Mountain Hotel opened in the fall of 2016 making it difficult to forecast

   future results. In spite of a delayed opening, the management team has achieved a number of

   objectives that should improve future operating results. Due to improvements in snow making,

   the Burke Mountain Hotel successfully opened for the Thanksgiving season. This more than

   doubled the skier visits compared to the previous year. Now that Burke Mountain has proven

   capabilities to deliver quality snow and ski/lodging experience, there should be a substantial

   improvement in business for the 2017-2018 ski and summer biking season. The success

   continued throughout the winter season, with winter season passes brining in 15% more revenue

   than the prior winter season. Moreover, the summer season pass for the bike park is already 30%

   ahead of last season.

           The management team has determined there are still opportunities to produce increased

   cash flow and additional revenue by implementing certain measures prior to the next season.

   Potential improvements to cash flow include increasing bike rentals to include trail bikes;

   installing a new antenna lease on Burke Mountain; adding local privately owned condominiums

   to the rental pool on a split income program.

           Management has also made Burke Mountain hotel operate more efficiently by

   reorganizing the Group Sales & Marketing efforts to leverage media purchasing power and

   provide shared resources between Jay Peak and Burke; rolling out a brand identity to better

   differentiate Burke Mountain in the ski market and create additional sales; and reorganizing

   finance and business operations to lower costs. Although the Burke Mountain Hotel continues to




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   incur significant losses that the receivership is funding, the Receiver and Leisure are hopeful that

   these losses will decrease over the next year.

   IV.     ADMINISTRATION OF THE RECEIVERSHIP ESTATES

            The Receiver continues to utilize the skills of his professionals, including his general

   counsel Akerman LLP; special litigation and conflicts counsel Jeffrey Schneider and Levine

   Kellogg Lehman Schneider & Grossman LLP; and immigration counsel H. Ron Klasko and

   Klasko Immigration Law Partners. Soneet Kapila, CPA, and the accounting firm Kapila

   Mukamal provide accounting and forensic work for the Receiver.

            A.     Website/Ongoing Communications

            The Receiver has returned to Vermont on multiple occasions for meetings with Vermont

   government officials, creditors of the Receivership Entities and employees of the Receivership

   Entities. The Receiver continues to respond to inquiries, usually through e-mail and telephone

   calls. Since the Receiver cannot respond to every inquiry, the Receiver maintains a toll-free

   investor "Hotline" at (800) 223-2234 and an email address for general inquiries:

   jaypeak@akerman.com. The Receiver also updates the website www.JayPeakReceivership.corn

   to provide up to date information for investors and interested parties.

            Because the investors come from foreign countries, the website is available in seven

   languages. To provide public access to court documents, the Receiver posts copies of key filings

   in this case on the website. The Receiver has posted numerous updates on his website. The

   website also includes a Registration Form for investors and creditors to provide the Receiver

   with their contact information. The Receiver will continue to utilize the website as the primary

   method of communicating with investors, creditors and other interested parties throughout the

   receivership.




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          B.       Recommendations

          The Receiver continues to secure and maintain the assets of the Receivership Entities,

   analyze the use of the individual partnership funds and respond to inquiries from the investors,

   creditors and other interested parties. The Receiver anticipates taking the following actions: (i)

   continue to operate and maintain the facilities until the best course of disposition is determined

   with the goal of each investor obtaining the highest possible return on their investment and

   achieving their unconditional green card; (ii) implement a claims process; (iii) investigate and

   commencing litigation against third parties who may be liable for the perpetration of the

   Receivership Defendants' fraud; (iv) continue to review transfers of the individual partnership

   funds and seek to recover funds which were fraudulently transferred; (v) respond to inquiries

   from investors, creditors, government officials and interested parties; and (vi) provide updates

   through the receivership website.

   Dated: July 11,2017.

                                                   Respectfully submitted,

                                                   By: /s/ Michael I. Goldberg
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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   July 11, 2017 via the Court's notice of electronic filing on all CM/ECF registered users entitled

   to notice in this case as indicated on the attached Service List.



                                                   By: /s/ Michael I. Goldberg
                                                      Michael I. Goldberg, Esq.




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                                              SERVICE LIST


   1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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                    EXHIBIT "A"
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                        STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                               SEC v. Quiros, et al.
                                         Case No.: 16-cv-21301-GAYLES
                                    Reporting Period 10/01/2016 to 04/30/2017



       FUND ACCOUNTING (See Instructions):
                                                                                 Detail        Subtotal   Grand Total
       Line 1         Beginning Balance (As of 09/30/2016):                                                  7,435,824.32

                      Increases in Fund Balance:

       Line 2         Business Income
       Line 3         Cash and Securities (UNrestricted)                   $   11,687,169.78
       Line 3         Cash and Securities (RESTRICTED)                     $    2,161,306.16
       Line 4         Interest/Dividend Income                                      7,823.26
       Line 5         Business Asset Liquidation
       Line 6         Personal Asset Liquidation
       Line 7         Third-Party Litigation Income
       Line 8         Miscellaneous - Other
                        Total Funds Available (Lines 1 — 8):                                                21,292,123.52

                      Decreases in Fund Balance:

       Line 9         Disbursements to Investors

       Line 10        Disbursements for Receivership Operations
           Line 10a   Disbursements to Receiver or Other Professionals
           Line 10b   Business Asset Expenses                              S    4,340,344.45
           Line 10c   Personal Asset Expenses                                     105,000.00
           Line 10d   Investment Expenses
           Line We    Third-Party Litigation Expenses
                          1. Attorney Fees                                 $    1,164,644.81
                          2. Litigation Expenses
                        Total Third-Party Litigation Expenses

          Line 10f Tax Administrator Fees and Bonds
          Line lOg Federal and State Tax Payments                          $    2,071,912.46
                     Total Disbursements for Receivership Operations                                         6,412,256.91
       Line 11      Disbursements for Distribution Expenses Paid by the Fund:
           Line 11a    Distribution Plan Development Expenses:
                        1. Fees:
                             Fund Administrator
                             Independent Distribution Consultant (IDC)
                             Distribution Agent
                             Consultants
                             Legal Advisers
                             Tax Advisers
                          2. Administrative Expenses
                          3. Miscellaneous
                         Total Plan Development Expenses

          Line lib       Distribution Plan Implementation Expenses:
                         1. Fees:
                               Fund Administrator
                               IDC
                               Distribution Agent
                               Consultants
                               Legal Advisers
                               Tax Advisers
                          2. Administrative Expenses
                          3. Investor Identification:
                               Notice/Publishing Approved Plan
                               Claimant Identification
                               Claims Processing
                               Web Site Maintenance/Call Center
                          4. Fund Administrator Bond
                          5. Miscellaneous




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                       STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                          SEC v. Quiros, et al.
                                                    Case No.: 16-cv-21301-GAYLES
                                             Reporting Period 10/01/2016 to 04/30/2017



                         6. Federal Account for Investor Restitution (FAIR)
                         Reporting Expenses
                       Total Plan Implementation Expenses
                      Total Disbursements for Distribution Expenses Paid by the Fund

       Line 12      Disbursements to Court/Other:
           Line 12a    Investment Expenses/Court Registry Investment
                    System (CRIS) Fees
           Line 12b    Federal Tax Payments
                     Total Disbursements to Court/Other:
                     Total Funds Disbursed (Lines 9— 11):                                                           6,412,256.91

       Line 13       Ending Balance (As of 04/30/2017):                                                      $     14,879,866.61

       Line 14      Ending Balance of Fund — Net Assets:                                                     $
           Line 14a    Cash & Cash Equivalents
           Line 14b    Investments
           Line 14c    Other Assets or Uncleared Funds
                     Total Ending Balance of Fund — Net Assets


       OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail          Subtotal       Grand Total

                     Report of Items NOT To Be Paid by the Fund:

       Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
           Line 15a    Plan Development Expenses Not Paid by the Fund .
                        1. Fees:
                             Fund Administrator
                            IDC
                             Distribution Agent
                            Consultants
                            Legal Advisers
                             Tax Advisers
                        2. Administrative Expenses
                         3. Miscellaneous
                        Total Plan Development Expenses Not Paid by the Fund

           bne 15b      Plan Implementation Expenses Not Paid by the Fund:
                         1. Fees:
                             Fund Administrator
                             IDC
                             Distribution Agent
                             Consultants
                             Legal Advisers
                              Tax Advisers
                         2. Administrative Expenses
                         3. Investor Identification:
                              Notice/Publishing Approved Plan
                              Claimant Identification
                              Claims Processing
                              Web Site Maintenance/Call Center
                        4. Fund Administrator Bond
                        5. Miscellaneous
                        6. FAIR Reporting Expenses
                       Total Plan Implementation Expenses Not Paid by the Fund
          Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund
                      Total Disbursements for Plan Administration Expenses Not Paid by the Fund




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                       STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                       SEC v. Quiros, et al.
                                                 Case No.: 16-cv-21301-GAYLES
                                            Reporting Period 10/01/2016 to 04/30/2017


       Line 16      Disbursements to Court/Other Not Paid by the Fund:
           Line 16a    Investment Expenses/CRIS Fees
           Line 16b    Federal Tax Payments
                      Total Disbursements to Court/Other Not Paid byllie Fund:

       Line 17       DC & State Tax Payments

       Line 18      No. of Claims:
           Line 18a    # of Claims Received This Reporting Period.                                           0
           Line 18b    # of Claims Received Since Inception of Fund
       Line 19      No. of Claimants/Investors:
           Line 19a    # of Claimants/Investors Paid This Reporting Period..                                 0
           Line 19b    # of Claimants/Investors Paid Since Inception of Fund                                 0



                                                                               Receiver:

                                                                               By: /s/ Michael Goldberg
                                                                                         (signature)

                                                                                  Michael I. Goldberg
                                                                                   (printed name)

                                                                                  Court Appointed Receiver
                                                                                   (title)

                                                                           Date: July 11,2017




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   Jay Peak Resort/Burke Mountain
   Beginning Cash Balance
                                                                                      * Rate: 0.75
                                                                       11/1/2016                 11/1/2016
                                                                       USD/CON                      USD
                                                                       End of Day                End of Day
   Company          Bank        Account Name        Account Number    Cash Balance              Cash Balance
   08- JPI          People's   General Account      =1736              2,768,503.54             2,768,503.54
   08 -JP!          People's   Payroll Account      =1752                       -                        -
   08 -JP!          People's   Money Market Acct    1=7175                21,002.68                21,002.68
   20 -JPHSP2       People's   General Account      =0659              1,239,440.48             1,239,440.48
   20- JPHSP2       People's   Money Market Acct    =0667                       _                        -
   380- BMOC        People's   General Account      1116722              197,464.57               197,464.57
   380- BMOC        People's   Sayings Account      =II1175                2,574.46                 2,574.46
   381- BMRM        People's   General Account      =116726               30,028.48                30,028.48
   382- BMWC        People's   General Account      .11.6724                 454.50                   454.50
   08 -JP!          Desjardins CON Operating Acct   =55                  188,765.48               141,574.11 *
   20- JPHSP2       Desjardins CDN Operating Acct   =48                   37,232.07                27,924.05 *
                                                                     $ 4,485,466.26           $ 4,428,966.87
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   Jay Peak Resort/Burke Mountain
   Detailed Report on Receiver Funding                                                                     Direct- Merrill Lynch Bank Accounts
   11/01/2016 through 4/30/2017                                                                            Indirect - CitiBank Accounts

   TRC NumberAccountN                    AccountTvne   Account N                  Pust Date    Reference   Amount           Descrintion          Tyne   Text
                  IMM.1    1765                        JP! Operating- 1736          1/20/2017              $   215,000.00 RECEIVER PAID
                  .11111111176$                        JP! Operating- 1736          1/20/2017              $ 1,000,000.00 RECEIVER PAID
                             1765                      Burke Mountain Operating     1/20/2017              $   357,449.21 RECEIVER PAID
                       . 1765                          JP! Operating- 1736            2/2/2017             $   211,649.09 RECEIVER PAID
                  1      176$                          JP! Operating - 1736         2/25/2017              $       250.00 RECEIVER PAID
                  111.11.176$                          JP! Operating - 1736         2/28/2017              $   211,649.09 RECEIVER PAID
                         176$                          JP! Operating - 1736         4/30/2017              $   211,649.09 RECEIVER PAID
                         1765                          JP! Operating -1736          4/30/2017              $   423,298.16 RECEIVER PAID
                  ME.1765                              JPI Operating -1796          4/30/2017              $  1111,963.001 RECEIVER COLLECTED
                          176$                         JP! Operating -1736          4/30/2017              $     3,407.72 RECEIVER PAID
                  1111.111176$                         JPI Operating- 1736          4/30/2017              $     1,634.15 RECEIVER PAID
                  1       1765                         JP! Operating -1736          4/30/2017              $     2,175.81 RECEIVER PAID
                  1       176$                         JPI Operating -1736          4/30/2017              $     2,600.37 RECEIVER PAID
                  .1.111  176$                         JIB Operating - 1736         4/30/2017              $   552,098.35 RECEIVER PAID
                  1       17,5                         Al Operating- 1736           4/30/2017              $       250,00 RECEIVER PAID
                  INIME17,5                            JP! Operating -1736          4/30/2017              $       250.00 RECEIVER PAID
                  1         176$                       Burke Mountain Operating     4/28/2017              $   165,275.45 RECEIVER PAID
                             765                       Burke Mountain Operating     4/29/2017              $     9,238.09 RECEIVER PAID
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   Jay Peak Resort/Burke Mountain
   Detailed Report on Resort Deposits                                   Average Currency Exchange Rate:   0.75
   11/01/2016 through 4/30/2017


   Summary of Departmental Deposits into Major Line of Business Categories


                                               Dept Category                                                         USD
                                               Short-term Assets                                                 $    1,162,353
                                               Capital Expenditures (incl. tram upgrade)                                 30,077
                                               Short-term Liabilities                                            $    3,419,938
                                               Equity
                                               S, G & A                                                                362,001
                                               General Operations                                                      757,378
                                               Food & Beverage                                                   $    8,274,760
                                               Hotel & Lodging                                                   $   11,461,032
                                               Other Mountain Activities                                         $    5,380,908
                                               Condo Associations
                                               Skiing Operations                                                 $    9,725,676
                                               Summer Operations                                                         15,896
                                               Ski School                                                        $    1,175,554
                                               Retail                                                                   736,077
                                               Ski Rental/Repair                                                 $    1,027,623
                                                                                                                 $   43,529,273
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   Jay Peak Resort/Burke Mountain
   Detailed Report on Vendor Payments                                  Average Currency Exchange Rate:   0.75
   11/01/2016 through 4/30/2017


   Summary of Departmental Vendor Payments into Major Line of Business Categories


                                              Dept Category                                                         USD
                                              Short-term Assets                                                 $    5,200,010
                                              Capital Expenditures (incl. tram upgrade)                         $    3,509,372
                                              Short-term Liabilities                                                  542,330
                                              Equity
                                              S, G & A                                                          $    6,001,686
                                              General Operations                                                $    2,641,756
                                              Food & Beverage                                                   $    2,973,490
                                              Hotel & Lodging                                                         578,675
                                              Other Mountain Activities                                               203,222
                                              Condo Associations                                                       62,497
                                              Skiing Operations                                                 $    1,161,976
                                              Summer Operations                                                        76,059
                                              Ski School                                                               35,173
                                              Retail                                                                  169,388
                                              Ski Rental/Repair                                                           8,945
                                                                                                                $   23,164,581
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   Jay Peak Resort/Burke Mountain
   Ending Cash Balance
                                                                                         * Rate: 0.73
                                                                          4/30/2017                  4/30/2017
                                                                          USD/CDN                       USD
                                                                          End of Day                 End of Day
   Company          Bank         Account Name         Account Number     Cash Balance               Cash Balance
   08- JP1          People's     General Account      1=1736              8,030,658.05               8,030,658.05
   08 - JP!         People's     Payroll Account      1=1752                       -
   08 - JPI         People's     Money Market Acct    =7175                  21,018.14                  21,018.14
   20- JPHSP2       People's     General Account      =10659                477,339.04                 477,339.04
   20- JPHSP2       People's     Money Market Acct    1=10667                      -
   380- BMOC        People's     General Account      .1=6722             1,819,246.61               1,819,246.61
   380- BMOC        People's     Savings Account          1175
   381- BMRM        People's     General Account          6726               57,866.64                 57,866.64
   382- BMWC        People's     General Account      I6724                  10,992.95                 10,992.95
   08 - JP1         Desjardins   CDN Operating Acct   1=55                  130,688.62                 95,402.69    *
   20-JPHSP2        Desjardins   CDN Operating Acct   =48                    37,157.07                 27,124.66    *
                                                                       $ 10,584,967.12           $ 10,539,648.78
